Case 3:16-md-02738-MAS-RLS   Document 33035   Filed 07/29/24   Page 1 of 20 PageID:
                                   226052




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON TALCUM                No. 3:16-md-02738-MAS-RLS
   POWER PRODUCTS MARKETING, SALES
   PRACTICES, AND PRODUCTS LIABILITY              MDL No. 16–2738 (MAS) (RLS)
   LITIGATION




                     REPLY IN SUPPORT OF
    DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S ORDER
           DENYING DEFENDANTS’ MOTION TO COMPEL
      AN INSPECTION OF DR. WILLIAM LONGO’S LABORATORY
Case 3:16-md-02738-MAS-RLS                   Document 33035               Filed 07/29/24           Page 2 of 20 PageID:
                                                   226053



                                          TABLE OF CONTENTS
                                                                                                                  Page(s)

  TABLE OF AUTHORITIES .................................................................................... ii
  INTRODUCTION .....................................................................................................1
  ARGUMENT .............................................................................................................3
           I.       The Inspection Is Both Relevant And Critical. .....................................3
                    A.       Plaintiffs abandon the Special Master’s reasoning that prior
                             differences in MAS’s methodology render the inspection
                             irrelevant. ....................................................................................3
                    B.       The inspection is necessary to disprove Dr. Longo’s look-
                             down-the-microscope justification. ............................................4
                    C.       The deposition of Mr. Hess serves as a reason to grant the
                             inspection, not deny it. ................................................................6
           II.      This Court Has Authority To Order An Inspection. .............................9
                    A.       The destructive nature of the testing serves as a reason to grant
                             the inspection. ...........................................................................10
                    B.       Rule 34(a) allows for an inspection. .........................................12
                    C.       This Court can order that Dr. Longo’s testing should be
                             excluded if he does not submit to an inspection. ......................14
           III.     The Inspection Poses No Undue Burden. ...........................................15
  CONCLUSION ........................................................................................................15




                                                              i
Case 3:16-md-02738-MAS-RLS                  Document 33035              Filed 07/29/24         Page 3 of 20 PageID:
                                                  226054



                                       TABLE OF AUTHORITIES

  Case                                                                                                       Page(s)
  In re Benicar (Olmesartan) Prod. Liab. Litig.,
      319 F.R.D. 139 (D.N.J. 2017)............................................................................. 10

  Haskins v. First Am. Title Ins. Co.,
    2012 WL 5183908 (D.N.J. Oct. 18, 2012) .....................................................7, 10

  Herndon v. Gillis,
    2022 WL 14935785 (9th Cir. Oct. 26, 2022) ....................................................... 8

  Kreps v. Dependable Sanitation, Inc.,
     2022 WL 4094124 (D.S.D. Sept. 7, 2022) ....................................................... 8, 9

  United States v. Buncich,
    20 F.4th 1167 (7th Cir. 2021) ............................................................................... 8

  Other Authorities

  Fed. R. Civ. Prod. 34(a)(2) ........................................................................................ 2




                                                            ii
Case 3:16-md-02738-MAS-RLS       Document 33035      Filed 07/29/24   Page 4 of 20 PageID:
                                       226055



                                  INTRODUCTION

        The relevant analysis on the case-defining issue of whether asbestos is present

  in Defendants’ talc products now turns on a very simple issue: the color of the

  particles. More specifically, according to Dr. Longo, the critical question is what

  color a particle appears as seen down the lens of his microscope. Naturally,

  Defendants have asked for discovery to permit them to view particles down the lens

  of Dr. Longo’s microscope. Plaintiffs’ latest objection to Defendants’ request—

  “Where Dr. Longo sees purple, [Defendants] see yellow”—defies credulity.




  The above particle is yellow, not purple. Period, full stop. The Court can see that

  simple fact with its own eyes—as can Dr. Longo, and the lawyers who protect him.

  This is not a Rorschach inkblot test. It is a yellow particle. The fact that Dr. Longo

  attempts to claim otherwise is patently absurd.

        The gaslighting must end.



                                            1
Case 3:16-md-02738-MAS-RLS         Document 33035     Filed 07/29/24   Page 5 of 20 PageID:
                                         226056



        Since Defendants filed their motion to compel an inspection and the Special

  Master denied it, Plaintiffs’ antics have increased. Defendants recently deposed Dr.

  Longo’s analyst, Mr. Paul Hess, who is the one who conducted the analyses at issue

  in Dr. Longo’s expert report and looked down the microscope. He testified that with

  regards to the above particle and others like it, there is a purple halo around the

  particle that only appears when he looks down his microscope. Ex. AL, Hess Dep.

  115:15-25. Yet, Plaintiffs continue to fight tooth and nail to keep Defendants away

  from this magical microscope. Why? Shouldn’t Plaintiffs want Defendants to also

  see this case-defining purple?

         Carrying the absurdity further, Plaintiffs now argue that Defendants should

  not be allowed to look live down Dr. Longo’s microscope because Defendants

  simply do not need to—that the defense arguments debunking Dr. Longo’s

  methodology already are good enough. Resp. 21-24.1 Of course, this hypocrisy

  ignores the simple fact that, despite contending that Defendants have everything they

  need to rebut Dr. Longo’s testing, Plaintiffs are still defending Dr. Longo’s claim that

  Mr. Hess and others at MAS see purple when looking live down the microscope and

  that is not only why Dr. Longo’s report accurate, but also why he is the only one

  claiming to see asbestos fibers in Defendants’ talc products through PLM.



  1
   Defendants will cite Plaintiffs’ Response Brief as Resp. __ and Defendants’
  Objections to the Special Master’s Order as Obj. __.

                                             2
Case 3:16-md-02738-MAS-RLS        Document 33035     Filed 07/29/24   Page 6 of 20 PageID:
                                        226057



        To be clear, this is not just a question about the fair scope of cross-

  examination. Dr. Longo should not be allowed to suggest to a jury that a particle is

  purple just because he (or his employee) saw something that no one else has had the

  opportunity to observe. As an expert, Dr. Longo is cloaked with the aura of authority;

  perhaps some jurors will believe his proclamation and not the photographs displayed

  before their very own eyes. And when Defendants try and challenge Dr. Longo’s

  statement, who knows how some future court may rule in terms of a motion in limine

  or other effort to exclude the testimony. The time to deal with this issue is now.

        Plaintiffs cannot have it both ways. They have hung their hats on a safe harbor

  that is impossible to penetrate absent an inspection permitting Defendants to look

  down Dr. Longo’s microscope. Basic fairness, let alone the rules of evidence, dictate

  either that Defendants be permitted to do so or that Dr. Longo’s testing should be

  excluded as inherently unreproducible and untestable. This Court should order one

  or the other.

                                      ARGUMENT

  I.    The Inspection Is Both Relevant And Critical.

        A.        Plaintiffs abandon the Special Master’s reasoning that prior
                  differences in MAS’s methodology render the inspection irrelevant.

        Plaintiffs have abandoned the Special Master’s reasoning that looking down

  Dr. Longo’s microscope is not relevant or necessary because Dr. Longo used a

  different testing methodology in the past. See Resp. 2 n.2; see also id at n.11 (urging


                                            3
Case 3:16-md-02738-MAS-RLS         Document 33035    Filed 07/29/24   Page 7 of 20 PageID:
                                         226058



  the Court to disregard Dr. Longo’s evolving methodology). Plaintiffs suggest that

  the fact Defendants even discussed Dr. Longo’s changing methodology is

  “befuddling.” See Resp. 2 n.2.

        Defendants raised the issue because the Special Master spent two pages of his

  order contending that the change in methodology was a core reason to deny

  inspection. Order at 5-6. But as Defendants argued at the hearing in this matter,

  discussed in their Objections, and Plaintiffs do not even attempt to respond to, it is

  the culmination of these methodological changes that have now forced Dr. Longo

  into the corner of calling yellow particles “purple.” Understood in this context, the

  evolution of Dr. Longo’s methodology is more reason to grant inspection—not less.

        B.     The inspection is necessary to disprove Dr. Longo’s look-down-the-
               microscope justification.

        Plaintiffs’ Opposition boils down to the position that Defendants’ criticisms

  of Dr. Longo’s method are so thoroughly cutting that Defendants do not need any

  more information. Resp. 21-24. It is this argument from Plaintiffs that is befuddling.

        At this point, Plaintiffs only have two options: One, they can admit that

  Defendants are correct and that Dr. Longo is misreporting the color of the particles

  and therefore not finding asbestos, in which case Dr. Longo’s testing should be

  immediately excluded. Or two, they can insist that Dr. Longo is correct, that the

  particles are indeed purple, it’s just that the purple can only be seen when looking

  down his microscope. If that is Plaintiffs’ position, then Defendants need to look


                                            4
Case 3:16-md-02738-MAS-RLS        Document 33035       Filed 07/29/24   Page 8 of 20 PageID:
                                        226059



  down the microscope with Dr. Longo to test his contention or his method and results

  should be excluded as incapable of being tested or reproduced.

        Put another way: Of course everyone who looks at the pictures of particles

  included in Dr. Longo’s report can see clearly with their own two eyes that the

  particles are yellow. See Resp. 21. And, because they are yellow, the particles are

  clearly not magenta. See Resp. 22. Yes, other plaintiffs-side experts have testified

  that Dr. Longo is just finding talc in the talc, but still calling it chrysotile. See id.

  And yes, Defendants’ experts have issued comprehensive reports critiquing Dr.

  Longo’s work. Id. at 23. But instead of admitting defeat and dropping this

  manufactured asbestos theory, Dr. Longo presses on, insisting: Trust me you just

  have to look down my microscope. And Plaintiffs fall dutifully in line, fully intending

  to proceed at trial on a “just trust him, it’s really purple” explanation.

        Plaintiffs claim that “[i]f Defendants wish to challenge Dr. Longo’s credibility

  or identification of asbestos because their litigation consultants disagree about the

  determination of a particles’ refractive index or color in photomicrographs, then they

  should make that argument to the jury.” Resp. 26. How do Plaintiffs imagine that

  would actually happen at any trial? Without the ability to look down the microscope

  themselves and so testify to the jury, the Defendants are hamstrung. Dr. Longo is

  going to testify: Sure, it may look yellow now in the picture I am showing you, but

  there is purple around the particles when my analysist looks down the microscope.



                                              5
Case 3:16-md-02738-MAS-RLS        Document 33035      Filed 07/29/24    Page 9 of 20 PageID:
                                        226060



  Are the jurors, Defendants, and this Court supposed to just take his word for it?

  Plaintiffs’ argument that this is simply a question of “credibility” reveals the utter

  impossibility of the situation. Is a jury supposed to sort out which expert is accurately

  reporting the color simply by who says it more confidently?

        Plaintiffs have no answer to the fact that Dr. Longo defended why his “entire

  analysis” was not wrong by testifying that he would need to look down his

  microscope. See Obj. 5. Similarly, Plaintiffs have no answer for the fact that Dr.

  Longo testified that defense expert Dr. Shu-Chun Su was wrong because he never

  looked down Dr. Longo’s microscope. See id. Instead, Plaintiffs use the entirety of

  their energy seeking to prevent Defendants from looking down Dr. Longo’s

  microscope.

        C.      The deposition of Mr. Hess serves as a reason to grant the
                inspection, not deny it.

        The deposition of Mr. Hess only further demonstrates the need for an

  inspection. As the Special Master explained, “Hess, not Longo, did the microscopic

  analysis required under the PLM methodology.” ECF 32817. After the Special

  Master granted a deposition of Hess, he reasoned (as Plaintiffs also now argue) that

  an inspection was not warranted because that deposition “should fill in the gaps from

  Longo’s deposition.” Order at 8; see also Resp. 3, 25. That reasoning can no longer

  stand. Mr. Hess’ deposition was obstructed with constant improper instructions not




                                             6
Case 3:16-md-02738-MAS-RLS          Document 33035      Filed 07/29/24    Page 10 of 20
                                    PageID: 226061



to answer even the most basic questions. And when he was permitted to answer, Mr.

Hess retreated to the same look-down-the-microscope excuse as Dr. Longo.

             1.     The deposition of Mr. Hess was obstructed by pervasive
                    instructions not to answer basic questions.

      Mr. Hess’ deposition does not serve as an effective alternative to an inspection

because it was obstructed by 40 instructions not to answer. Plaintiffs should not be

permitted to point to the deposition of Mr. Hess as a sufficient source of information

but then work to ensure that Mr. Hess does not actually provide any answers.

      For example, one of the critical pieces of testimony Defendants highlighted

in their request for an inspection was Dr. Longo’s response that he needed to look

down the microscope in order to determine whether the edge effect that MAS is

relying on to identify chrysotile is also present on the talc particles. Obj. 22 (citing

Ex. AD, Longo Clark Hr’g (Vol. I) 118:20-119:3). Given that response,

Defendants asked Mr. Hess whether “[t]he same type of edge effects that you’re

relying on to call particles chrysotile in Johnson & Johnson are also present on talc

plates in your analysis.” Incredulously, he was instructed not to answer. Id. at

143:11-25. Such gamesmanship prevents Defendants from obtaining this critical

information from anywhere. And this is but one example of instructions not to

answer that were pervasive and covered even the simplest components of Mr.




                                           7
Case 3:16-md-02738-MAS-RLS         Document 33035     Filed 07/29/24    Page 11 of 20
                                   PageID: 226062



Hess’s testing.2 A deposition where counsel does not permit Mr. Hess to answer

basic questions about his analysis does not serve as a substitute for an inspection.

             2.     Mr. Hess defended his analysis with the same look-down-the-
                    microscope excuse.

      Mr. Hess’s deposition also does not serve as a replacement for an inspection

because in the limited instances he was permitted to answer a question, Mr. Hess

also testified that the purple color he’s claiming to see only appears when looking

down the microscope:

        Q. So are you telling me that that particle we’re looking at is
        somehow entirely surrounded with purple, but we just can’t see it?

        A. Based on what I saw through the microscope.

See Ex. AL, Hess Dep. 115:7-25; see also Ex. AM (Dep. Ex. 17). He then offered

no way to verify that testing:

        Q. Okay. But can we verify that with the picture? Can we verify
        that in some way?

        A. Other than what’s on the picture, Counselor, I cannot speculate.

Ex. AL, Hess Dep. 117:8-11.

2
  As just a few examples, Mr. Hess was instructed not to answer: “In your reports
identifying chrysotile in Johnson & Johnson, what color are the particles that you’re
calling chrysotile typically?” He was instructed not to answer: “What color is; the
particle that you’re calling chrysotile here?” He was instructed not to answer:
“[What] color are you assigning the talc plates we’re looking at here?” When defense
counsel attempted to direct Mr. Hess’s attention to a particular particle, he was even
instructed not to answer the question: “Do you see that?” The extent and impropriety
of these instructions not to answer is discussed in more detail in Defendants’ motion
to compel further testimony from Mr. Hess. See ECF No. 32993.

                                          8
Case 3:16-md-02738-MAS-RLS         Document 33035       Filed 07/29/24   Page 12 of 20
                                   PageID: 226063



      As with Dr. Longo, this was not a one-off issue. Mr. Hess repeatedly testified

that he could not give answers based on the produced images but would need to be

looking down the microscope.3 That the person who actually looked down the

microscope also claims he would need to look down the microscope again to see the

supposed “purple” color of the particle further demonstrates why an inspection is

warranted.

II.   This Court Has Authority To Order An Inspection.

      As much as Plaintiffs seek to parse the caselaw, they do not and cannot dispute

that this Court faces a unique situation: An expert is calling things purple that are

yellow, and claiming the only time it is possible for anyone to see the “true” color

that he sees is when looking live down his microscope. This circumstance calls for

a unique solution that by necessity will not have a perfectly analogous example in

prior precedent.4




3
  See, e.g., id. at 81:1-11 (“[W]ithout being able to see the true edges of the particle
in question . . . I cannot comment.”); id. at 98:25-99:15 (“It has a mottled
appearance, some yellow, but I cannot ascertain the edge off of the photograph.”);
id. at 100:17-19 (“I cannot determine the edge colors from the photograph as
presented.”); id. at 130:8-21 (“I base it on what I see through the scope.”); id. at
146:2-13 (“Q. So if we don’t see something in the photograph that you’re claiming
is there, then it wasn't really there? A. “It doesn’t mean that it wasn’t there. I use
the scope, not the screen.”) (objections omitted).
4
  The situation this Court faces is also unique because Mr. Longo originally
conducted the relevant testing in other state court cases and simply incorporated by
reference that state-court testing into his MDL report.

                                           9
Case 3:16-md-02738-MAS-RLS          Document 33035       Filed 07/29/24    Page 13 of 20
                                    PageID: 226064



      The existing caselaw demonstrates that an expert may be ordered to allow

observation of his testing when circumstances render it appropriate. Never was that

more the case than with Dr. Longo’s testing.

      A.     The destructive nature of the testing serves as a reason to grant the
             inspection.

      One example in which courts find observation of an expert’s testing

appropriate is in the event of destructive testing. As a threshold issue, Defendants

did not waive arguments with respect to destructive testing. First, Plaintiffs’

contention that Defendants “did not raise it until filing their reply” is simply not true.

See Resp. 14. Defendants argued in their original motion that this Court should grant

the inspection because “the slides with the samples that MAS looks at under the

microscope degrade in relatively short order” and so “the only way for defense

experts to look at the same particles MAS is looking at in the same way is to view

them live under the microscope at the same time as Dr. Longo.” ECF 32227-1 at 12.

Second, any waiver rule “does not apply where the [court below] nevertheless

addressed the merits of the issue,” as occurred here. See Herndon v. Gillis, 2022 WL

14935785, at *2 (9th Cir. Oct. 26, 2022). Third, Plaintiffs never contended to the

Special Master that any argument was waived, so they have “waived any waiver”

argument in any event. United States v. Buncich, 20 F.4th 1167, 1172 (7th Cir. 2021).

      On the merits, there is no dispute: The particles that Dr. Longo found in

Defendants’ talc products which he claims are chrysotile asbestos are destroyed.


                                           10
Case 3:16-md-02738-MAS-RLS          Document 33035       Filed 07/29/24    Page 14 of 20
                                    PageID: 226065



Plaintiffs cite only a single case—Kreps—in an attempt to claim that the relevant

testing here is not “destructive testing.” And even then, Plaintiffs myopically focus

on the first two pages of that opinion.

      But the opinion does not stop on page 2. Even in Kreps, the court on page 3

“analyze[d] the defendants’ motion under the destructive testing rubric.” Kreps v.

Dependable Sanitation, Inc., 2022 WL 4094124, at *3 (D.S.D. Sept. 7, 2022). As

the court explained: “In one sense, the testing defendants propose is destructive even

though sufficient blood will be left over to allow plaintiffs to do rebuttal testing. That

is because the sample used by the defendants will be consumed by the testing.” Id.

(emphasis in original). The court went on: “It will cease to exist, so in this sense it

will be destroyed, even though more of the blood sample remains available after the

testing. Several courts have applied destructive testing analysis to such tests which,

while destructive, nevertheless leave a remainder of the item or substance intact.”

Id. (citing Mirchandani v. Home Depot, U.S.A., Inc., 235 F.R.D. 611, 612-13 (D.

Md. 2006); Ostrander by Ostrander v. Cone Mills, Inc., 119 F.R.D. 417, 418-20 (D.

Minn. 1988)). In other words, the Kreps case supports Defendants’ arguments.

      In reality, the Court need not wade into this semantic debate. Plaintiffs never

respond to the fact that regardless of whether his testing does or does not fall under

the category of “destructive testing,” “Dr. Longo testified repeatedly that the

moments in which his results can be justified are transitory: only when he is looking



                                           11
Case 3:16-md-02738-MAS-RLS         Document 33035      Filed 07/29/24    Page 15 of 20
                                   PageID: 226066



live down the microscope.” Obj. 8. Accordingly, the reasons that justify observation

of destructive testing are even more relevant here. Plaintiffs cite no case where an

expert claimed that the results of his testing can only be interpreted in a transitory

moment and then attempted to deny the opposing party access to those critical

moments.

      B.     Rule 34(a) allows for an inspection.

      Plaintiffs contend that Rule 34(a) permits inspection only of the property of a

“party.” But the rule in fact states that the Court can order an inspection of property

“possessed or controlled by the responding party.” Fed. R. Civ. Prod. 34(a)(2)

(emphasis added). “Federal courts construe ‘control’ very broadly for Rule 34

purposes. Consequently, there is control if a party has the legal right or ability to

obtain the documents from another source upon demand.” Haskins v. First Am. Title

Ins. Co., 2012 WL 5183908, at *1 (D.N.J. Oct. 18, 2012) (internal citations omitted).

      As Plaintiffs’ expert, Dr. Longo is the agent of the Plaintiffs, and his lab is

therefore within Plaintiffs’ control. That is why parties may be ordered to produce

documents within their experts’ possession. See In re Benicar (Olmesartan) Prod.

Liab. Litig., 319 F.R.D. 139, 142 (D.N.J. 2017) (Schneider, J.) (“It appears from the

record in the case that plaintiffs’ experts have the ability to obtain the medical

records they reviewed.”). In fact, the only evidence in the record regarding the ability




                                          12
Case 3:16-md-02738-MAS-RLS          Document 33035       Filed 07/29/24    Page 16 of 20
                                    PageID: 226067



of a defense expert to enter Dr. Longo’s lab is Dr. Longo’s testimony welcoming

them to do exactly that. Ex. AG, Longo Streck Dep. 135:17-25.

      Plaintiffs’ complaint that the samples of talc are exclusively in Dr. Longo’s

possession and not Plaintiffs’ possession demonstrates the flaw in their entire

argument. See Resp. 19. Plaintiffs received dozens of split samples of Defendants’

talc products from the J&J archive pursuant to a protocol specifically negotiated for

this MDL. Plaintiffs’ claim that there is some sort of impediment to testing those

very same samples because they are being held at Plaintiffs’ expert’s lab rather than

Plaintiffs’ counsel’s offices is absurd. Indeed, the fact that a bellwether plaintiff

herself may retain a bottle of talc that of course can later be tested defeats Plaintiffs’

entire argument that it makes a difference who has possession of the physical

samples. See Ex. AN, Special Master Argument Transcript at 85:14-20.

      Moreover, Rule 26(a)(2)(B)(ii) requires an expert witness to produce “the

facts or data considered by the witness.” Plaintiffs’ claim that Defendants have

“received the data underpinning Dr. Longo’s opinions.” Resp. 8. That is simply not

true. The key data that Dr. Longo relies on are the colors Mr. Hess allegedly only

sees when looking down the microscope. The only way that Dr. Longo can produce




                                           13
Case 3:16-md-02738-MAS-RLS          Document 33035      Filed 07/29/24    Page 17 of 20
                                    PageID: 226068



the data he is relying on—what appears when looking live down the microscope—

is by allowing the defense to look live down the microscope right along with him.5

      C.     This Court can order that Dr. Longo’s testing should be excluded
             if he does not submit to an inspection.

      Plaintiffs largely ignore Defendants’ alternative enforcement mechanism that

the Court exclude Dr. Longo’s testing as incapable of being tested or reproduced if

he does not submit to an inspection. These arguments are far from “irrelevant and

distracting” as Plaintiffs contend. Resp. 29. Nor do Defendants’ arguments on this

front have anything to do with the fact that a court can also award attorneys’ fees for

a successful motion to compel under Rule 37. Resp. 30.

      This Court unquestionably has the power to exclude Dr. Longo’s testing. The

Court has only Dr. Longo’s own say-so that the obviously yellow particles in the

images he has produced somehow look different when looking down the

microscope. Plaintiffs do not respond at all to the caselaw on that issue. See Obj. 32-

33. It is squarely within this Court’s authority to issue an order ruling that if Dr.

Longo does not agree to an inspection, it will exclude his testing under that Rule 702

framework. Critically, this is an issue the Special Master expressly stated that he was

not addressing, so it falls on this Court decide the question in the first instance.



5
 Nor does work product pose any obstacle. Dr. Longo is not Plaintiffs’ consulting
expert but their testifying expert. And Defendants cited numerous examples of
courts permitting an opposing expert to observe another’s testing. Obj. 30 & n.3.

                                           14
Case 3:16-md-02738-MAS-RLS        Document 33035      Filed 07/29/24   Page 18 of 20
                                  PageID: 226069



III.   The Inspection Poses No Undue Burden.

       Finally, there is no evidence that the requested inspection would be unduly

burdensome. Plaintiffs argue that an inspection would “shut down MAS’s operations

for the inspection’s duration and displace and impinge on its scientists’ and

technicians’ work.” Resp. 27. But they cite nothing for that statement.6

       Nor do Plaintiffs have a response to what the actual evidence shows. They do

not respond at all to Dr. Longo’s testimony that he would be “perfectly happy” to

have a defense expert visit his lab. Ex. AG, Longo Streck Dep. 135:17-25. Instead,

Plaintiffs misleadingly rely on their contention that sample preparation can take “up

to 72 hours.” Resp. at 27. But as Defendants explained to the Special Master, the 72

hours of sample preparation time that Plaintiffs refer to represents the amount of

time MAS has (at times) spun the talc sample in a centrifuge. See Resp. Ex. B at

148:16-17; but see Obj. ECF 32227-19 at 203:6-10 (10 minutes). Defendants have

stated repeatedly, and do so again to eliminate any lingering confusion, no

observation is necessary during that passive component of the preparation process.

See ECF 32808 at 13-14. This supposed “72 hour” burden is a red herring.

                                  CONCLUSION

       This Court should order Defendants’ requested inspection.



6
 Plaintiffs’ contention in a footnote that they in fact submitted evidence similarly
contains no citation to actual evidence. Resp. 28 n.10.

                                         15
Case 3:16-md-02738-MAS-RLS   Document 33035   Filed 07/29/24   Page 19 of 20
                             PageID: 226070



Dated: July 29, 2024                Respectfully submitted,

                                    /s/ Kristen R. Fournier
                                    Kristen R. Fournier
                                    Matthew L. Bush
                                    KING & SPALDING LLP
                                    1185 Avenue of the Americas
                                    34th Floor
                                    New York, NY 10036
                                    (212) 556-2100
                                    kfournier@kslaw.com

                                    Susan M. Sharko
                                    FAEGRE DRINKER BIDDLE &
                                    REATH LLP
                                    600 Campus Drive
                                    Florham Park, NJ 07932
                                    susan.sharko@faegredrinker.com

                                    Attorneys for Defendants Johnson &
                                    Johnson and LLT Management, LLC




                                  16
Case 3:16-md-02738-MAS-RLS         Document 33035      Filed 07/29/24   Page 20 of 20
                                   PageID: 226071



                        CERTIFICATION OF SERVICE

      I hereby certify that on July 29, 2024, a true and correct copy of the foregoing

motion was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Court’s system.


                                        /s/ Kristen R. Fournier
                                        Kristen R. Fournier
                                        KING & SPALDING LLP
                                        1185 Avenue of the Americas
                                        34th Floor
                                        New York, NY 10036
                                        (212) 556-2100
                                        kfournier@kslaw.com
